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                                                                          l"lt.$ IN OP!N
                                                                          ON

                                                                                           'ctdNC
                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                      NO. 5:25-CR-00001-M

     UNITED STATES OF AMERICA

                   V.                                 CONSENT PRELIMINARY
                                                      ORDER OF FORFEITURE
     TRAVIS BLAKE MORGAN

            WHEREAS, the above -named defendant has pleaded guilty pursuant to a

     written plea agreement to the single-count Information, charging the defendant with

     conspired with others, known and unknown, to knowingly and willfully engage in the

     business of dealing in firearms without a license, in violation of Title 18, United

     States Code, Sections 922(a)(l)(A) and 924, all in violation of Title 18, United States

     Code Section 371;

           AND WHEREAS, the defendant consents to the terms of this Order and to the

     forfeiture of the property that is the subject of t his Order of Forfeiture; stipulates and

     agrees that each firearm and ammunition was involved in or used in the offense(s) to

     which he pleaded guilty, or was in the defendant's possession or immediate control at

     the time of arrest, and is therefore subj ect to forfeiture pursuant to 18 U.S.C.

     § 924(d)(l) and/or 18 U.S.C. § 3665;

           AND WHEREAS, t he defendant stipulates and agrees that t he defendant

     individually, or in combination with one or more co-defendants, has or h a d an

     ownership, beneficial, possessory, or other legal interest in and/or exercised dominion

     and control over each item of property that is subj ect to forfeiture herein;

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      AND WHEREAS, the defendant knowingly and expressly agrees to waive the

requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2(a), 32.2(b) (l ),

32.2(b)(4), and 43(a), including waiver of any defect respecting notice of the forfeiture

in the chargin g instrument or the plea colloquy; waiver of the right to a hearing to

present additional evidence respecting the forfeitability of any specific property or the

amount of any forfeiture money judgment; waiver of the right to be present during

any judicial proceeding respecting the forfeiture of the property that is the subj ect of

this Or der of Forfeiture or to receive further notice of the same; waiver of any defect

respecting the announcement of the forfeiture at sentencing; and waiver of any defect

respecting t he inclusion of the forfeiture in the Court's judgment;

      AND WHEREAS, the defendant knowingly and expressly agrees that the

provisions of this Consent Preliminary Order of Forfeiture are intended to, and shall,

survive the defendant's death, notwithstanding the abatement of any underlying

criminal conviction after the entry of this Order; and that the forfeitability of any

particular property identified herein sh all be determined as if defendant h ad

survived, and that determination sh all be binding upon defendant's heirs , successors

and assigns until the agreed forfeiture , including any agreed money judgment

amount, is collected in full;

      NOW, THEREFORE, based upon t he Memorandum of Plea Agreement, the

stipulations of the parties, and all of t he evidence of record in this case, the Court

FINDS as fact and CONCLUDES as a m atter oflaw that there is a nexu s between

each item of property listed below and the offense(s) to which the defendant has


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pleaded guilty, and that the defendant (or any combination of defendants in this case)

has or had an interest in the property to be forfeited,

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.     The following property is forfeited to the United States pursuant to Fed.

R. Crim. P. 32.2(b)(2) and 18 U.S.C. §§ 924(d) and 3665, and 26 U.S.C. § 5872:

             Personal Property:

             a) One Geissele model SD-556 caliber rifle, with an obliterated serial

                number recovered on August 8, 2024, from a storage unit at Apex,

                North Carolina, and any and all associated magazines and

                ammunition;

             b) One unknown make, model AKM, 7.62x39mm rifle , bearing no serial

                number, marked KAM, recovered on August 8, 2024, from a storage

                unit at Apex, North Carolina, and any and all associated magazines

                and ammunition;

             c) One Ceska zbrojovka (Czech Armory), model vz-61, 7.65mm (32 ACP)

                rifle, h aving no serial number, marked "J 4072," recovere d on August

                8, 2024, from a storage unit at Apex, North Carolina, and any and all

                associated magazines and ammunition;

             d) One black in color suppressor for an AR style rifle, bearing no serial

                number, recovered on August 24, 2024, from a storage unit at Apex,

                North Carolina, and any and all associated magazines and

                 ammunition;


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      e) One Polish PM-63 RAK rifle, bearing serial number GG3892,

           recovered on August 31, 2024, at Raleigh, North Carolina, and any

           and all associated magazines and ammunition.

      f) Two black lower receivers (firearms), bearing no serial numbers on

           the receivers, seized on October 2, 2024, from 175 North Moore Road,

           Robbins, North Carolina 27325;

      g) VZ 61 Skorpion, pistol, serial number J4633 , seized on October 2,

           2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      h) VZ 61 Skorpion pistol, serial number V9351, seized on October 2,

           2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      i)   VZ 61 Skorpion pistol, serial number J4410, seized on October 2,

           2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      j)   VZ 61 Skorpion pistol, serial number V3778, seized on October 2,

            2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      k) One AK-style Rifle, make and model unknown, bearing no serial

           number on the frame or receiver, number on stock 31398, seized on

           October 2, 2024, from 175 North Moore Road, Robbins, North

           Carolina 27325;

      1) One 9x19 Uzi submachinegun with silencer, bearing serial

           number 813746, seized on October 2, 2024, from 175 North Moore

           Road, Robbins, North Carolina 27325;




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      m) One Black AR-Platform Rifle, make and model unknown, bearing

          no serial number, seized on October 2, 2024, from 175 North Moore

         Road, Robbins, North Carolina 27325;

      n) Eight AR lower receivers (firearms) milled to receive auto sears

          bearing no serial numbers on the receivers, seized on October 2,

          2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      o) One AK-47 Trigger pack components seized on October 2, 2024, from

          175 North Moore Road, Robbins, North Carolina 27325;

      p) Five Jig Sets, including one metal jig set, components to build

         firearms , seized on October 2, 2024, from 175 North Moore Road,

         Robbins, North Carolina 27325;

       q) An unknown make and model Tan Rifle , new in package, bearing no

          serial number, seized on October 2, 2024, from 175 North Moore

          Road, Robbins, North Carolina 27325;

      r) One lower receiver and trigger, new in package, seized on October 2,

          2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      s) Three sets of firearm trigger assembly parts, seized on October 2,

          2024, from 175 North Moore Road, Robbins, North Carolina 27325;

       t) All 5.56mm rifle ammunition and assorted magazines, loaded and

          unloaded, seized on October 2, 2024, from 175 North Moore Road,

          Robbins, North Carolina 27325;

       u) Six boxes containing .32 caliber ammunition, seized on October 2,


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         2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      v) Two plastic containers, one plastic bag, and one cardboard box

         containing .308 ammunition, seized on October 2, 2024, from 175

         North Moore Road, Robbins, North Carolina 27325;

      w)One plastic container containing 7.62 ammunition, seized on

         October 2, 2024, from 175 North Moore Road, Robbins, North

         Carolina 27325;

      x) Thirty rounds of rifle ammunition, caliber unknown, and magazine,

         seized on October 2, 2024, from 175 North Moore Road, Robbins,

         North Carolina 27325;

      y) Gun parts seized on October 2, 2024, from 175 North Moore Road,

         Robbins, North Carolina 27325;

      z) Alliant Pro Reach shotgun shell powder seized on October 2, 2024,

         from 175 North Moore Road, Robbins, North Carolina 27325;

      aa)Hodgdon Benchmark Precision Target Rifle powder seized on

         October 2, 2024, from 175 North Moore Road, Robbins, North

         Carolina 27325;

      bb)Hodgdon CFE Pistol Powder seized on October 2, 2024, from 175

         North Moore Road, Robbins , North Carolina 27325;

      cc) Pyrodex Muzzleloading Propellant RS seized on October 2, 2024,

          from 175 North Moore Road, Robbins, North Carolina 27325;

      dd)One AK Builder Tool seized on October 2, 2024, from 175 North


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          Moore Road, Robbins, North Carolina 27325;

      ee) One AR Combo Tool seized on October 2, 2024, from 175 North Moore

          Road, Robbins, North Carolina 27325;

      ff) One Vice jib seized on October 2, 2024, from 175 North Moore Road,

          Robbins, North Carolina 27325;

      gg)Three Metal Threaders seized on October 2, 2024, from 175 North

          Moore Road, Robbins, North Carolina 27325;

      hh) One L312 Signal illumination ground white star parachute M127Al

          Lot # 5GK14J023-005 in soft case seized on October 2, 2024, from

          175 North Moore Roa d, Robbins, North Carolina 27325;;

      ii) One M83 Smoke TA Lot# 20M522-001 seized on October 2, 2024,

          from 175 North Moore Road, Robbins, North Carolina 27325;

      jj) One M18 Smoke Green Lot# PB-17-C315-004 seized on October 2,

          2024, from 175 North Moore Road, Robbins, North Carolina 27325;

      kk) One M18 Smoke Green Lot# PB-19-K319-003 seized on October 2,

          2024, from 175 North Moore Road, Robbins, North Carolina 27325;

     11) One M83 Smoke TA Lot# PB-20M522-001 seized on October 2, 2024,

         from 175 North Moore Road, Robbins, North Carolina 27325;

     mm)Assorted Ammunition Casings seized on October 2, 2024, from 6501

         Mt. Herman Road, Raleigh, NC 27617;

     nn) One Barrell Press Kit seized on October 2, 2024, from 6501 Mt.

         Herman Road, Raleigh , NC 27617;


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          oo) One Barrell Bedding Tool seized on October 2, 2024, from 6501 Mt.

             Herman Road, Raleigh, NC 27617;

          pp) One Glock Lower Parts Kit seized on October 2, 2024, from 6501 Mt.

             Herman Road, Raleigh, NC 27617;

          qq) One Assorted Ammunition Holder seized on October 2, 2024, from

              6501 Mt. Herman Road, Raleigh, NC 27617;

          rr) Six rounds of handgun ammunition, caliber 9mm, seized on October

              2, 2024, from 6501 Mt. Herman Road, Raleigh, NC 27617;

          ss) One Pistol Magazine seized on October 2, 2024, from 6501 Mt.

              Herman Road, Raleigh, NC 27617;

          tt) One Pistol Slide seized on October 2, 2024, from 6501 Mt. Herman

              Road, Raleigh, NC 27617;

          uu) Sixteen rounds of rifle ammunition, caliber 7.62mm, seized on

              October 2, 2024, from 6501 Mt. H erman Road, Raleigh, NC 27617;

          vv) One 7.62 Magazine, black in color, seized on October 2, 2024, from

              6501 Mt. Herman Road, Raleigh, NC 27617;

          ww) One 7.62 Magazine, camo in color, seized on October 2, 2024, from

              6501 Mt. Herman Road, Raleigh, NC 27617;

          xx) One Homemade Suppressor purchased from the person of Travis

              Morgan on August 31, 2024.

     2.    Pursuant to Fed. R. Crim. P. 32.2(b)(3), the U .S. Attorney General,

Secretary of the Treasury, Secretary of Homeland Security, or a designee is


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authorized to seize, inventory, and otherwise maintain custody and control of the

property, whether held by the defendant or by a third-party. Any person who

knowingly destroys, damages, wastes, disposes of, transfers, or otherwise

takes any action with respect to the property, or attempts to do so, for the

purpose of preventing or impairing the Government's lawful authority to

take such property into its custody or control or to continue holding such

property under its lawful custody and control, may be subject to criminal

prosecution pursuant to 18 U.S.C. § 2232(a).

      3.     Pursuant to Fed. R. Crim. P. 32.2(6)(3) and 32.2(c)(l)(B), the United

States is authorized to conduct any discovery pursuant to the applicable Federal

Rules of Civil Procedure needed to identify, locate, or dispose of the above-referenced

property, or other substitute assets, including depositions, interrogatories, requests

for production of documents and for admission, and the issuance of subpoenas.

      4.     If and to the extent required by Fed. R. Crim. P. 32.2(6)(6), 21 U.S.C.

§ 853(n), and/or other applicable law, the United States shall provide notice of this

Order and of its intent to dispose of the specified real and/or personal property listed

above, by publishing and sending notice in the same manner as in civil forfeiture

cases, as provided in Rule G( 4) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions. The United States shall then file a Notice with

the Court documenting for the record: (1) proof of publication, or the government's

reliance on an exception to the publication requirement found in Supplemental Rule

G(4)(a)(i); and (2) the government's efforts to send direct notice to all known potential


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third-party claimants in accordance with Supplemental Rule G(4)(b)(iii), or a

representation that no other potential claimants are known to the government. This

Order sh all not take effect as the Court's Final Or der of Forfeiture until an

appropriate Notice h as been filed and the time in which any third parties with notice

of the forfeiture are permitted by law to file a petition has expired.

      5.     Any person other than the above-named defendant, having or

claiming any legal interest in the subject property must, within 30 days of

the final publication of notice or of receipt of actual notice, whichever is

earlier, petition the Court to adjudicate the validity of the asserted interest

pursuant to Fed. R. Crim. P. 32.2(c)(l) and 21 U.S.C. § 853(n)(2). The petition

must be signed by the petitioner under penalty of perjury and shall set

forth: the nature and extent of the petitioner's right, title, or interest in the

subject property; the time and circumstances of the petitioner's acquisition

of the right, title, or interest in the property; any additional facts supporting

the petitioner's claim; and the relief sought. The petition may be hand-

delivered to the Clerk at any federal courthouse within the Eastern District

of North Carolina or mailed to the following address:




                           U.S. District Court Clerk
                           Eastern District of North Carolina
                           P.O. Box 25670
                           Raleigh, NC 276 11




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      6.     The United States shall serve this Order on all counsel of record for any

co-defendant in this criminal matter.      Such service shall constitute notice of the

forfeiture to each co-defendant who has appeared in this case within the purview of

Supplemental Rule G(4)(b)(iii)(B). Any co-defendant who desires to preserve

his/her right to contest the forfeiture of any of the property identified

herein must, no later than 30 days after entry of this Order, file a valid

petition pursuant to 21 U.S.C. § 853(n) and/or other appropriate objection as

to why the forfeiture should not become final. If no such filing is docketed

within the allotte d time , each non-objecting co-defendant shall be deemed to have

waived any right to contest the forfeiture , this Order shall become a Final Order of

Forfeiture as to the property without a separate Preliminary Order of Forfeiture

being entered as to that co-defendant or incorporated into that co-defendant's

criminal judgment, and the rights of that co-defendant in the subject property, if any,

shall be extinguish ed.

      7.     If one or more timely petitions are received by the Court, the Court will

enter a separate scheduling order governing the conduct of any forfeiture ancillary

proceedings under Fed. R. Crim. P. 32.2(c). Following the Court's disposition of all

timely filed petitions, a Final Order of Forfeiture that amends this Order as necessary

to account for any third-party rights shall be entered pursuant to Fed. R. Crim. P.

32.2(c)(2) and 21 U.S.C. § 853(n)(6). The receipt of a petition as to one or more specific

items of property shall not delay this Order of Forfeiture from becoming final, in




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accordance with the following paragraph, as to any remaining property to which no

petition has been filed.

      8.     If no third party files a timely petition, or if this Court denies and/or

dismisses all third party petitions timely filed, this Order shall become the Final

Order of Forfeiture, as provided by Fed. R. Crim. P . 32.2(c)(2), and the United States

shall dispose of the property according to law, including without limitation

liquidation by sale or any other commercially feasible means, destruction, and/or

retention or transfer of an asset for official use. The United States shall have clear

title to the property and may warrant good title to any subsequent purchaser or

transferee pursuant to 21 U .S.C. § 853(n)(7). If any firearm or ammunition subject

to this Order is in the physical custody of a state or local law enforcement agency at

the time this Order is entered, the custodial agency is authorized to dispose of the

forfeited property by destruction or incapacitation in accordance with its regulations,

when no longer needed as evidence.

      9.     Upon sentencing and issuance of the Judgment and Commitment Order,

the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), with the defendant's

consent, this Order shall be final as to the defendant upon entry.




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      10.    The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).



      SO ORDERED, this the l : :Y of _ _ _           __~
                                                     JU ____,, 2025 .

                                        ~I          iv111~J.PS         3
                                 RICHARD E. MYERS II
                                 CHIEF UNITED STATES DISTRICT JUDGE


WE ASK FOR THIS:


DANIEL P . BUBAR
Acting United States Attorney                  Travis Blake Morgan
                                               Defendant


BY     ~              ¢~
  a a~                                         Robert P arrott
Assistant United States Attorney               Attorney for the Defendant
Criminal Division




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